Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 1 of 11 Page ID #:352
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 2 of 11 Page ID #:353



  1 (4) violation of the Cartwright Act; (5) violation of California Business & Professions Code
  2 § 17200 (the “UCL”); (6) intentional interference with contractual relations; and (7) intentional
  3
      interference with prospective economic advantage. See FAC.
  4
              On August 31, 2016, Defendant filed a motion to dismiss pursuant to Federal Rules of
  5
      Civil Procedure 8(a) and 12(b)(6). Dkt. 40. Defendant asserts that the complaint should be
  6
  7 dismissed in its entirety. For the reasons stated below, the Court GRANTS Defendant’s motion
  8 to dismiss.
  9 II.       LEGAL STANDARD
 10
              A motion to dismiss under Rule 12(b)(6) challenges the legal sufficiency of the claims
 11
      stated in the complaint. Fed. R. Civ. P. 12(b)(6). To survive a motion to dismiss, a complaint
 12
      “must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
 13
      plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.
 14
 15 Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads

 16 factual content that allows the court to draw the reasonable inference that the defendant is liable
 17 for the misconduct alleged.” Id. A complaint that offers mere “labels and conclusions” or “a
 18
      formulaic recitation of the elements of a cause of action will not do.” Id. (internal quotation
 19
      marks omitted). “Allegations in the complaint, together with reasonable inferences therefrom, are
 20
      assumed to be true for purposes of the motion.” Odom v. Microsoft Corp., 486 F.3d 541, 545
 21
 22 (9th Cir. 2007).
 23 III.      FACTUAL ALLEGATIONS

 24           A. Parties
 25           Plaintiff is a corporation engaged in the production, sale, and distribution of energy
 26
      drinks marketed under “Pit Bill Energy Products.” FAC ¶ 3. Defendant is also engaged in the
 27
 28
                                                         2
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 3 of 11 Page ID #:354



  1 production, sale, and distribution of energy drinks. Id. ¶ 4. The companies are direct competitors
  2 in the energy drink product market. Id. ¶ 5.
  3
              B. Relevant Market
  4
              Plaintiff contends that the relevant product and geographical markets are broad. Plaintiff
  5
      asserts that “[t]he relevant product[s] in this case are energy drinks.” Id. ¶ 7. Plaintiff alleges that
  6
  7 the relevant market (“Relevant Market”) at issue in this case are the “worldwide exchanges and
  8 commissaries within the control of the Military Resale System.” Id. ¶ 6. There are significant
  9 barriers to market entry because of intellectual property, several entrenched competitors
 10
      (including Monster, Rock Star, and Red Bull), and capital requirements. Id. ¶ 58.
 11
              The U.S. Defense Commissary Agency (“DECA”) operates the “Military Resale
 12
      System.” Id. ¶ 9. The Military Resale System consists of over 3,000 exchanges, 247
 13
      commissaries, hundreds of convenience stores, package stores, troop stores, and “other
 14
 15 facilities.” Id. ¶ 6. The Military Resale System is for members of the U.S. military and is located

 16 on bases, large maritime ships, and other areas where U.S. soldiers, sailors, airmen, marines, and
 17 coastguardsmen are stationed. Id.
 18
              To be eligible to supply products to the Military Resale Market, manufacturers must
 19
      comply with DECA’s purchasing and stocking process in addition to meeting the requirements
 20
      of U.S.C. Title 10 (Organization and General Military Powers). Id. ¶ 21. Before its products may
 21
 22 be sold in the Military Resale Market, a manufacturer must meet with DECA and receive a
 23 product code for each product that DECA authorizes to be sold in a commissary. Id. ¶¶ 14–15.
 24 Different product codes confer varying levels of access to commissaries, including a range of
 25 options from mandatory worldwide stocking to optional regional stocking. Id. ¶¶ 15–16.
 26
              Because DECA’s purchasing and stocking process is complex, manufacturers typically
 27
      require the use of consultants or brokers. Id. ¶ 17. Plaintiff alleges, on information and belief,
 28
                                                         3
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 4 of 11 Page ID #:355



  1 that a manufacturer that has never conducted business with DECA must have the assistance of a
  2 broker for the initial presentation where DECA determines which product codes the products
  3
      should be awarded.1 Id. ¶¶ 14, 17, 21.
  4
               There are at least two types of brokers. Id. ¶ 23. Master level brokers (“Master Brokers”)
  5
      coordinate and present manufacturers’ products to DECA for initial introduction into the Military
  6
  7 Resale Market, manage product distribution, ensure that manufacturers are connected to and able
  8 to use DECA’s electronic data interchange system, and ensure that each products’ Universal
  9 Product Code (“UPC”) is entered correctly into DECA’s electronic system. Id. ¶ 25. Master
 10
      Brokers are also responsible for coordinating product reviews for particular products to increase
 11
      a product’s code designation so that it is more widely available in the commissaries. Id. ¶ 26.
 12
               Master Brokers often utilize commissary level brokers (“Sub Brokers”) to conduct store-
 13
      to-store sales and monitor product inventory in commissaries. Id. ¶ 27. Sub Brokers are
 14
 15 responsible for in-store merchandising of manufacturers’ products at physical store locations. Id.

 16 ¶ 28. This involves walking through the stores to monitor product inventory levels and ensure the
 17 quality of displays. Id. ¶¶ 28–29.
 18
               C. Monster’s Market Manipulation
 19
               In 2007, Plaintiff, in compliance with DECA’s requirements, hired Mid Valley Products
 20
      (“Mid Valley”) as a Master Broker. Id. ¶¶ 31–32. As a part of the contract, Mid Valley agreed to
 21
 22 provide Plaintiff with a Sub Broker at each commissary. Id. ¶ 32. At the time, Mid Valley
 23 already had an existing contract with High Plains Marketing Services, Inc. (“High Plains”) to act
 24
 25
 26

 27   1
     Plaintiff alleges, on information and belief, that Monster was aware that Plaintiff and other competitors, would not
 28 be allowed to sell products through the military resale system without a Master Broker or Sub Broker. FAC ¶ 52.
                                                              4
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 5 of 11 Page ID #:356



  1 as a Sub Broker for Mid Valley’s manufacturing customers.2 Id. ¶ 33. Accordingly, High Plains
  2 served as Hip Hop’s Sub Broker.
  3
                On January 4, 2013, Plaintiff received a letter from Mid Valley’s President, Michael
  4
      Stewart (“Stewart”), indicating the firm was terminating the contract between Plaintiff and Mid
  5
      Valley “due to conflicts at the broker level with regards to competing energy drink companies.”
  6
  7 Id. ¶ 35. Subsequently, in 2014, Hip Hop filed suit against Mid Valley in Hip Hop Beverage
  8 Corp. v. Eurpac Serv. Inc., No. 14-CV-02049-JFW-AJW. Id. ¶ 36. During discovery for that
  9 case, Stewart testified that Mid Valley had terminated its contract with Plaintiff because Monster
 10
      instructed High Plains to inform Mid Valley that High Plains would terminate its contract with
 11
      Mid Valley if it did not cancel its contract with Plaintiff. Id. ¶¶ 37–38. Mid Valley complied with
 12
      the request because terminating its contract with Plaintiff was a more economically feasible
 13
      option than losing its contract with High Plains. Id. ¶ 37. According to an email from Stewart
 14
 15 uncovered in the discovery, Hip Hop “finally hit Monster’s radar” because Hip Hop had become

 16 “really aggressive lately.” Id. ¶ 39.
 17             After Mid Valley terminated the Master Broker contract, Plaintiff retained Reese Group
 18
      (“Reese”) as a Master Broker. Id. ¶ 43. But shortly after the contract was signed, Reese
 19
      terminated its Master Broker contract with Plaintiff with no explanation. Id. Plaintiff alleges that
 20
      this was once again due to Monster’s influence with High Plains. Id. ¶¶ 44–45. In an August 12,
 21
 22 2013 email from Stewart to High Plains President, Don Goetz (“Goetz”), Stewart states, “[t]his
 23 may be a continuation of the problem – doesn’t [High Plains] represent Reese Sales?” Id. ¶ 45.
 24 Goetz replied, “Michael, we talked to Reese and they resigned [Hip Hop].” Id. Plaintiff takes the
 25 exchange to show that Monster exerted its influence over High Plains to pressure Reese to
 26
      terminate its Master Broker contract with Hip Hop. Id. ¶¶ 44–45.
 27
 28   2
          At around the same time, High Plains was also serving as a Sub Broker for Monster. FAC ¶ 34.
                                                               5
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 6 of 11 Page ID #:357



  1           In the fall of 2013, Plaintiff retained WEBCO General Partnership (“WEBCO”) to
  2 provide Master Broker and Sub Broker services for its products. Id. ¶ 46. But again, in
  3
      November 2014, WEBCO ceased honoring its obligations with Plaintiff. Id. Even though
  4
      Plaintiff has attempted to get WEBCO to explain why it refuses to do business with Plaintiff,
  5
      WEBCO has not yet responded to Plaintiff’s request. Id. Plaintiff alleges that their contract with
  6
  7 Mid Valley was disrupted by Monster’s undue influence and economic duress. Id. ¶ 53.
  8           D. Market Effect
  9           Plaintiff alleges that “Monster controls the Relevant Market by controlling the only
 10
      available brokers necessary to reach the consumers.” Id. ¶ 54.3 Thus, “Plaintiff and other
 11
      competitors of Monster, are unable to deliver their products to customers within the Relevant
 12
      Market.” Id. Plaintiff further alleges that Monster enters into exclusive dealing agreements with
 13
      the limited number of brokers which prevents them from dealing with Monster’s competitors,
 14
 15 and has the effect of preventing competitors from entering the market. Id. ¶ 51.

 16           In 2014, Mid Valley signed a contract with Monster to provide it with Master Broker
 17 services. Id. ¶ 55. On information and belief, Plaintiff asserts that Monster plans to control the
 18
      Military Resale Market by controlling brokers. Id.
 19
              The anti-competitive effect of Monster’s exclusive dealing agreements with brokers is
 20
      that Plaintiff was excluded from selling energy drink products to customers between 2007 and
 21
 22 2015. Id. ¶ 56. Further, because Plaintiff has been unable to contract with a broker, it is forced to
 23 sell its products without a broker and was unable to sell its products to DECA for several months
 24
      3
 25     Plaintiff also alleges that Monster harms competitors by exerting influence over Master Brokers and Sub Brokers
      “to neglect the servicing of competitor’s products. FAC ¶ 51. While in contract with Mid Valley, Plaintiff
 26   experienced several problems with the firm’s services including “shoddy product displays, incorrect entry of
      Plaintiff’s product UPC information in DECA’s electronic accounting system, and overall neglect regarding product
 27   placement and presentation with DECA for product code advancement.” Id. ¶ 40. Some commissaries did not
      receive orders from Hip Hop because of incorrect UPC information, but the brokers did not correct these problems
 28   due to their agreement with Monster. Id. ¶ 41.
                                                             6
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 7 of 11 Page ID #:358



  1 due to the disruption of its business. Id. ¶ 57. Accordingly, Monster has caused Plaintiff to lose
  2 profits. Id. Plaintiff maintains that Monster’s acts: (1) suppress or diminish competition; (2)
  3
      reduce consumer choice; and (3) reduce distributor and shipper choice. Id. ¶ 60. Additionally,
  4
      consumers must pay higher prices for energy drinks “established by” Monster. Id. ¶ 64.
  5
      IV.        ANALYSIS
  6
  7              A. Injury to Competition

  8              This Court finds that Plaintiff has not sufficiently cured the defects from their original
  9 complaint. This Court provided Plaintiff with numerous cases that this Court relied on, yet
 10 Plaintiff’s FAC does not meet the standard put forth in these cases.

 11              In Perry v. Radio a doctor alleged that other doctors in the relevant market conspired to

 12 get his credentials revoked by soliciting cooperation among others in the industry to boycott his
    practice. 504 F. Supp. 2d 1043, 1045 (E.D. Wash. 2007), aff’d, 343 F. App’x 240 (9th Cir.
 13
    2009). As cited in the first Order, the Perry Court held that “[i]n absence of a showing that the
 14
    market as a whole has been affected, the fact one competitor must practice elsewhere is not an
 15
    antitrust injury.” Id. at 1047 (internal citations omitted). To further elaborate, the Perry Court
 16
    found that:
 17
            Plaintiffs’ Complaint [is] concerned with the impact on Dr. Perry of the alleged
 18         agreement, combination or conspiracy by the Defendants, rather than with injury
            to competition in general. At most, the Complaint makes conclusory allegations
 19         of injury to competition. This is insufficient. Furthermore, it is unreasonable to
 20         infer from the allegation of injury to Dr. Perry that there was also injury to
            competition. No facts are pled showing a cognizable antitrust injury (i.e., a rise in
 21         the price of OB/GYN services above a competitive level; decrease in the supply
            of OB/GYNs in the relevant market, or a decrease in the quality of OB/GYN
 22         service provided).
 23 Id. (emphasis added). Similarly here, Plaintiff makes conclusory allegations of injury to
 24 competition, but does not plead specific facts of a cognizable antitrust injury as expressed in
 25 Perry. Plaintiff does not allege the price of products in the market, only stating conclusory that
 26 “consumers are forced to pay higher prices for energy drinks.”4 FAC ¶ 64. Plaintiff does not

 27
      4
 28       This allegation was in the original complaint as well, compl. ¶ 63, which the Court found insufficient.
                                                                  7
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 8 of 11 Page ID #:359



  1 plead the supply or quality of products in the market, let alone a decrease in them. Despite this
  2 Court’s reliance on Perry, Plaintiff did not plead facts sufficient to cure the defects elucidated by
  3 the Perry Court. Therefore, this Court finds that Plaintiff cannot plead such facts, and further
  4 amendment would be futile.
  5          In the first Order, this Court also relied on the case Gorlick Distribution Centers, LLC v.

  6 Car Sound Exhaust Sys., Inc., 723 F.3d 1019 (9th Cir. 2013). in Gorlick, the Plaintiff alleged a
  7 vertical agreement between Allied Exhaust Systems and Car Sound Exhaust System in which
    Car Sound offered preferential terms of trade to Allied, but not Plaintiff. Gorlick Distribution
  8
    Centers, LLC, 723 F.3d at 1021. The District Court granted summary judgment in finding that
  9
    there was no evidence Car Sound “made this decision at Allied’s behest.” Id. at 1024 (internal
 10
    quotation marks omitted). The Ninth Circuit affirmed, but rejected this reasoning. See id. It
 11
    stated that “even assuming that Allied and Car Sound had an agreement, the Sherman Act claim
 12
    fails because [Plaintiff] produced no evidence that the vertical restraint actually injured
 13
    competition.” Id. Though this case is at the Motion to Dismiss stage, not Summary Judgment,
 14
    Plaintiff’s failure to properly allege an injury to competition is just as fatal here.
 15
            B. Market Power
 16
            In the first Order, this Court found that “Plaintiff’s market power allegations are largely
 17 conclusory and do not provide requisite detail of market injury or market structure.” Order at 6.
 18 Plaintiff fails to cure this defect because Plaintiff fails to add any additional allegations of market
 19 power. Plaintiff argues “the FAC alleges that Monster has a significant market share and there
 20 are high barriers to entry. Accordingly, the Motion [to dismiss] should be denied.” Pl. Opp. At

 21 10. Such allegations were in the original complaint. See compl. ¶¶54, 71. Thus, for the same
 22 reason, this Court dismisses them.
 23          Specifically, this Court continues to rely on Rick-Mik Enters., Inc. v. Equilon Enters.

 24 LLC, 532 F.3d 963 (9th Cir. 2008). Plaintiff in that case alleged a “tying product” antitrust
 25 violation between gasoline franchises of Defendant and credit-card processing services. Id. at
    972. The Ninth Circuit affirmed dismissal in part because,
 26
            Rick-Mik’s complaint does not allege that Equilon has market power in the
 27
            relevant market. . . . Indeed, other than stating that ‘[Equilon] rank[s] number one
 28         in the industry in branded gasoline stations,’ there are no specific allegations at all
                                                       8
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 9 of 11 Page ID #:360



  1           as to the franchise market. The complaint alleges nothing about, for example,
              what percentage of gasoline franchises are Equilon’s (Shell/Texaco) as compared
  2           to other franchises like Chevron, Mobil, Marathon Oil, or Union 76. . . . There are
  3           no factual allegations regarding the relative difficulty of a franchisee to switch
              franchise brands.5
  4
      Id. at 972. Similarly here, Plaintiff states that Defendant has substantial power in the market
  5
      (though not even that it is “number one”). The complaint does allege that Plaintiff controls “the
  6
      only available brokers necessary to reach the consumers.” FAC ¶ 54. This seems to suggest
  7
      100% control. Plaintiffs also allege, however, that Defendant controls “a major percent of such
  8
      market.” FAC ¶ 4. This suggests less than 100% and is couched in conclusory language no better
  9
      than the language found insufficient in Rick-Mik Enterprises that Defendants were “number one
 10 in the industry.” Somewhat contradictory, Plaintiff further alleges the existence of other

 11 “entrenched competitor[s]” with Monster, such as Rockstar and Red Bull, without explaining the
 12 comparative power in the market place between the three. See FAC ¶ 58. Amidst all this
 13 inconsistency, Plaintiff never adequately alleges the extent of Monster’s power over the brokers.
 14 The most glaring defect is the fact that Rockstar and Red Bull must have brokers themselves and
 15 as such Monster cannot control “the only available brokers” (emphasis added).6 Further, Plaintiff

 16 fails to identify the “relative difficulty” of switching brokers. See Rick-Mik at 972. Plaintiff does
 17 not plead these facts despite knowing that this Court relied on Rick-Mik in its first Order. Thus,
 18 this Court finds Plaintiff cannot plead these facts and further amendment would be futile.
 19           This Court agrees with Defendants that, at most, Plaintiff sufficiently pleads an

 20 agreement between Monster and High Plains. Plaintiff does not allege if they had alternative

 21 choices for sub-brokers that High Plains does not control, or otherwise allege High Plains
 22 dominance in the Master Broker market. Thus, there are no facts sufficient to allege that the
 23
      existence of this one agreement with one Master Broker has any effect on competition, other than
 24
      injuring Plaintiff, or that it establishes Monster’s substantial power in the market.
 25
 26   5
      The Plaintiff in Rick-Mik also alleged barriers to entry. 532 F. 3d at 972.
      6
 27   In fact, Plaintiff does not allege the relative power between these actors in the marketplace. It could be that
    Monster has a relatively minor share of the market compared to Red Bull and Rockstar, contrary to Plaintiff’s
 28 conclusory allegation that their share is “significant.”
                                                            9
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 10 of 11 Page ID #:361



   1              C. Interference Claims
   2              As in the last order, “Plaintiff’s interference claims also fail because there must be a
   3 predicate unlawful act to support an interference claim based on an at-will agreement.” Order at
   4 6–7. (citing Reeves v. Hanlon, 95 P.3d 513, 520 (Cal. 2004) (“[A] plaintiff seeking to recover for
   5 interference with prospective economic advantage must also plead and prove that the defendant

   6 engaged in an independently wrongful act in disrupting the relationship.”)). Without the alleged
   7 antitrust violations, there is no “predicate unlawful act” Monster allegedly committed.
             Though Reeves analyzed an at-will employment contract, subsequent courts have applied
   8
     Reeves to the issues presented here. Plaintiff claims an interference with contractual relations and
   9
     an interference with prospective economic advantage. See dt. 35. The Court in Gartner, Inc, v.
  10
     Parikh applied Reeves to an interference with contractual relations claim that involved at-will
  11
     contracts. No. CV 07-2039-PSG, 2008 WL 4601025, at *6 (C.D. Cal. Oct. 14, 2008).7 The Court
  12
     in Integrated Healthcare Holdings, Inc. v. Fitzgibbons applied Reeves to a claim for interference
  13
     with prospective economic advantage. 44 Cal. Rptr. 3d 517, 531 (Cal. Ct. App. 2006). This
  14
     Court relied on both these cases in its first Order. Order at n. 7. Thus, Plaintiff was on notice of
  15
     the law this Court would apply and yet have not alleged any predicate unlawful act by Monster
  16
     apart from their antitrust allegations. This Court concludes that Plaintiff cannot allege any other
  17 predicate unlawful act, and thus further amendment would be futile.
  18 V.           CONCLUSION
  19
                  The Court finds Plaintiffs allegations implausible, see Ashcroft, 556 U.S. at 678, in light
  20
       of unexplained inconsistencies. Plaintiff pleads that Monster has “significant” control of the
  21
       market, but does not plead any specific facts of its control. Plaintiff admits other “entrenched
  22
  23 competitors” in the market without accounting for how these competitors affect Monster’s power
  24 in the market or acknowledging that such competitors make it implausible for Monster to control
  25 “the only available brokers necessary to reach the consumers.” See FAC ¶ 54.
  26

  27
       7
  28       Plaintiffs do not dispute that their contract with Mid Valley was at-will.
                                                                    10
Case 2:16-cv-01421-SVW-FFM Document 44 Filed 10/26/16 Page 11 of 11 Page ID #:362



   1           Plaintiff has had a second chance to state an antitrust claim and related interference
   2 claims. The Court gave Plaintiff notice of what cases it relied on, yet still Plaintiff could not in
   3
       good faith plead additional facts sufficient to cure the defects of the original complaint.
   4
       Therefore, this Court finds any future amendments would be futile and dismisses the case WITH
   5
       PREJUDICE.
   6
   7
       IT IS SO ORDERED
   8
   9
       Date:     October 26, 2016
  10

  11
                                                     ___________________________________
  12                                                 HON. STEPHEN V. WILSON
  13                                                 UNITED STATES DISTRICT JUDGE
  14
  15

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